         Case 3:09-cr-05452-RJB           Document 346         Filed 12/17/09       Page 1 of 2




 1

 2

 3

 4

 5

 6

 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT TACOMA
 9

10
     UNITED STATES OF AMERICA                           NO. CR09-05452RJB
11
                Plaintiff,                             ORDER NOTING MOTION TO EXTEND
12         v.                                          TIME TO FILE DEFENSE MOTION

13   JUAN ANTONIO MOLINA-ABARCA,

14               Defendant.
15

16
            This matter comes before the court on the above-referenced motion (Dkt. 340) filed by
17
     counsel for the defendant Juan Antonio Molina-Abarca. The motion was filed without a noting
18
     date on the face of the motion as required by Local Criminal Rule 12(7), but a review of the
19
     case in CM/ECF indicates counsel erroneously noted the motion in that system for the filing
20
     date, December 16, 2009.
21

22
            Therefore, the court hereby notes the motion for the proper noting date, which is Friday,
23
     December 25, 2009. Any responses and replies should be filed in accord with Western District
24
     of Washington Local Criminal Rule 12.
25
         Case 3:09-cr-05452-RJB            Document 346           Filed 12/17/09      Page 2 of 2




 1
            The court would further note that that Rule provides, in part (c)(1), that late motions can
 2
     be filed upon leave of court for good cause shown.
 3

            Dated this 17th day of December, 2009.


                                          A
 4

 5

 6
                                          ROBERT J. BRYAN
                                           United States District Judge
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
